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                        CASE NO.t8-CR-20685-m LLIAM S/TORRES

   UM TED STATES OF AM ERICA

   V.

   GUSTAVO AD OLFO H ERNANDEZ FRIERI,

                 Defendànt.

                    FOVRTH PRELIM INM W ORDER OF FORR ITURE

         TH1$ M ATTER isbefore the Courtupon motion ofthe United StatesofAmerica (the
  GGurlited States'') for entry of a Fotu'th Preliminary Order of Forfeiture (ç&M otion'') against
  DefendantGustavoAdolfoHernandezFrieri(theçr efendanf'):
         On Febnzary 4,2020,the Cotlt'tentered a Prelim inary Order of Forfeiture againstthe

  Defendant,and imposed a forfeiture money judgmentin the amotmtof $12,330,000 in U.S.
  currency. See H ernandez Prelim inary OrdercifForfeiture 2-3,ECF N o.175.

         On Seftember28,2020,the Cottt'tenteredthe Seclmd Preliminary OrderofFore               ,
  findingthattheprerequisitesof21U.S.C.j8531)havebeen satisfiedtoauthorizetheforfeiture
  ofthe Defendant'ssubstitm eproperty;SeeHem andez2nd Preliminary OrderofForfeiture,ECF

  N o.239.

         On Jantzary 11,2021,the Courtentered theThird Preliminaty OrderofForfeiture,which

  forfeited certain substitute property ofthe Defendant. SeeH ernandez 3rd Prelim inaty Orderof

  Forfeiture,ECF No.280.In theThird Preliminary OrderofForfeiture,the Courtalso restrained,

  puisuantto21U.S.C.j853(g),realpropertylocated at314HicksStreet,Brooldyn,New York
   11201 (the:1314 HicksBrooklyn Townhouse'')to enslzreitsavailability forcriminalforfeiture.
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  Seeid.

         Since entry ofthose orders,on Febnzaty 8 and 18,2021,the De
                                                                   'fendant'spre-sentencing

  hearing on tinancialm atterswasheldbeforeU .S.M agistrateJudgeEdwin G.Torres.SeeM inute

  Entty,ECF N o.295,M inute Entry,ECF N o.305.

         The testim ony and evidencepresented atthe hearing,along with the exhibits attached to

  theM otion,confirm that(i)theDefendatltacquired3GrnmercyParkW est,Unit2(thetttlramercy
  Apartmenf')priorto hismarriage,holding himselfoutto be itssolebeneficialowner;(ii)the
  tzansferoftheGram ercy Apartmentfrom theDefendantandhisfnm ily'stluststotheDefendant's

  ex-w ife and hertnzst,D C 2019 Irrevocable Trust,did not occurin an arm s-length transaction for
                                                     r




  reasonably equivalentconsideration,and(iii)proceedsfrom thesaleoftheGramercy Apartment
  funded the2020purchaseofthe314 HicksBrooklyn Townhouse. Thus,the314 HicksBrooldyn

  TownhouseisotherpropertyoftheDefendant,subjecttoforfeiturepursuantto21U.S.C.j8534.
                                                                                   19.
  See,e.g.,Unitedstatesv.Gordon,710F.3d1124,1167-68(10thCir.2013)(affinningpreliminary
  forfeittzreofresidçncetitledtodefendant'swifeassubstitm epropertyunderj853û9).
         To the extentthat any otherthird party has an interestin any property soughtthzough

  forfeitureproceedings,such interestwillbeaddressed aftertheproperty isprelim inarily forfeited,

  in third-party ancillary proceedings.See21U.S.C.j853(k),(n);Fed.R.Crim .P.32.2,
                                                                                .seealso
  UnitedStatesv.Gordon,710F.3d 1124,1167-68(10th Cir.2013).
         A ccordingly,based on the foregoing,the evidencein therecord,and forgood causeshown,

  the M otion is GR AN TED,and itishereby O R DER ED that:

                Pursuantto21U.S.C.j853û$,thefollowingsubstitutepropertyisherebyforfeited
  and vested in the U nited States of Am erica:realproperty located at 314 H icks Street,Brooklyn,

  N ew Y ork 11201,in Brooldyn,N ew Y ork,Block 260,and Lot57,including a11buildings,fixtures,
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  aPPUIO M IICCS,iDW OVCm CntS,att
                                 achments and easements found therein orihereon,which is
  furtheridentified as:

         A LL TH AT CERTA FN plot,piece orparcelofland,situate,lying and being in the
         Borough ofBrooklyn,County ofKings,City and StateofN ew York,botmded and
         described asfollows:

         BEGINNING at a point fonued atthe northwesterly corner of Hicks and State
         Street;

         RUN NING THENCE northerly along the northwesterly side ofHicks Street,24
         feet5inchesm oreorlessto themiddleofaparty wall;

         THEN CE westerly and partofthe distance through the m iddle line ofsaid party
         wallandparallelwith StateStreet,76 feet8 3/4 inches;

         THEN CE southerly parallelw ith H icksStreet,24 feet5 inchesto the northerly side
         ofState Street;

         THEN CE easterly along the northerly side ofState Street,76 feet8 3/4 inchesto
         the northwesterly corner of State and Hicks Street, the point or place of
         BEGIN NIN G .

         2.     Any duly authorized 1aw erlforcem entagency m ay seizeand takepossession ofthe

  forfeited property according to law .

                TheUnitedStatesshallsend andpublishnoticeoftheforfeiturein accordancewith

  Rule32.2(b)(6)oftheFederalRulesofCriminalProcedureand21U.S.C.j853(n).
                   TheUnited Statesisauthorized to conductany discovery thatm ightbenecessary
  '

  to identify,locate,ordisposeofforfeitedproperty,andtoresolveany third-partypetition,ptlrsuant
                                                                                     '
                                                       a
  toRule32.2(b)(3),(c)(1)(B)oftheFederalRulesofCrlminalProcedtlreand21U.S.C.j853(m).
         5.     PtlrsuanttoRule32.2(b)(4)oftheFederalRulesofCriminalProcedlzre,thisOrder
  is finalasto the D efendant.

                   TheCotlrtshallretainjudsdiction inthismatterforthepuposeofenforcingtlnis
  Order,andpursuantto Rule32.2(e)(1)oftheFederalRulesofCriminalProcedm e,shallnmend
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  this Order, or enter other orders as necessav , to forfeit additional specific property when

  identified.

         ItisfurtherORDERED thatuponadjudicationofa11third-partyinterests,ifany,theCourt
  willenter a finalorder offorfeittzre asto the property in which al1interests willbe addressed.

  Upon noticefrom theUnited Statesthatno claimshavebeen filed within 60 daysoftheflrstday

  ofpublication orwithin 30 daysofreceiptofnotice,whicheverisearlier,then,pursuantto Rule

  32.2(c)(2)oftheFederalRulesofCriminalProcedureand21U.S.C.j853(n)(7),tllisOrdershall.
  become aFinalOrderofForfeitureand any duly authorized law enforcem entagency shalldispose

  ofthe property in accordance w ith qpplicable law .



         D O N E AN D O R D ERED in M iam i,Florida,this           day ofM arch 2021.




                                                        K ATH I,E M .W ILLIA M S
                                                        UN ITED TA TES D ISTRICT JUD GE


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  CotmselofRecord




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